1. The evidence sustains the verdict.
2. In the absence of a timely written request to charge as to impeachment of witnesses, an assignment of error based on the failure of the court so to charge is without merit.
                        DECIDED DECEMBER 5, 1949.
The defendant was convicted of voluntary manslaughter on an indictment charging murder. He filed a motion for a new trial on the general grounds and thereafter filed an amendment thereto containing one special ground. The court overruled the motion for a new trial. On this judgment the defendant assigns error here. We will not go into a detailed discussion of the evidence, as it seems to us that it would not serve any good *Page 558 
purpose. Generally, the evidence reveals that the defendant and the deceased, together with several others, went into a wooded area for the purpose of so playing, and did enter into a game of cards. All were drinking. The evidence is conflicting as to what happened.
The evidence for the State was to the effect, and the jury were authorized to infer, that during the gambling the defendant lost his funds, and pawned his knife to one Buddy Spells for one dollar. The defendant lost this dollar. Spells refused to give the knife back to the defendant. An altercation arose. There-upon, the defendant withdrew from the crowd and called for Buddy Spells to bring the knife to him. Spells refused to do this, but the deceased, Vasco Haralson, did go to the defendant. There was a conversation between the defendant and the deceased, away from the crowd. Thereafter, the defendant returned with a shotgun and tried again to call Buddy Spells. When Spells did not go to the defendant, the deceased went toward him. There was a ditch between the deceased and the defendant. As the deceased jumped the ditch on his way toward the defendant, the defendant shot him with the shotgun, inflicting wounds from which the deceased thereafter died. No one saw the deceased with a knife, but after the deceased was taken to the hospital, an open knife was found in his pocket. The deceased made a dying declaration to the effect that the defendant shot him without cause. It is the contention of the defendant that he shot the deceased in self-defense, and the defendant introduced evidence in support of his contention.
1. As to the general grounds, the evidence sustains the verdict of voluntary manslaughter. In the gambling and drinking and brawl, the jury were authorized to find that the passion of the defendant became aroused and he fired the shot without malice but in a heat of passion supposed to be irresistible and not in self-defense. All of this was a jury question. The jury rejected the contentions of the defendant. The verdict was approved by the trial judge and this court is without authority to reverse it, since no error appears in the charge of the court pertaining to the general grounds. *Page 559 
2. Error is assigned in special ground 1 because the court instructed the jury to the effect that if they found there was a conflict between the testimony of any witnesses in the case, it was their duty to reconcile that conflict if it could be done without imputing perjury to any witness, but if they could not do so, then it was their duty to believe that witness or those witnesses whom they thought best entitled to credit and belief. It is contended that since there were irreconcilable conflicts as between the testimony of the witnesses, the court should have gone further and charged the jury on the principle of law applicable to impeachment of witnesses. The court did not charge the principle of law applicable to impeachment. However, the court did charge the jury as to the credibility of witnesses as specified in the Code, § 38-107. There was no request to charge on the principle of law applicable to impeachment. In the absence of a written request to charge, it was not error to fail to charge the principle of law on impeachment of witnesses. In the case of Carson v. State, 22 Ga. App. 744 (3) (97 S.E. 202), this court said: "The failure of the court to charge upon the subject of impeachment of witnesses was not error, there being no timely written request for such a charge." There are other decisions to the same effect. The assignment of error on this ground shows no reversible error.
The court did not err in overruling the motion for a new trial for any of the reasons assigned.
Judgment affirmed. MacIntyre, P. J., and Townsend, J., concur.